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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America,
Plaintiff

Yibran Lopez-Rosakes,

Defendant.

NO.

THE GRAND JURY CHARGES:

COUNT 1

VIO:

CR20-744 PHY. Gnas (JZB)

INDICTMENT

18 U.S.C. § 924(a)(1)(A)
(False Statements in Connection with
Acquisition of a Firearm)

Counts 1-3

18 U.S.C. §§ 924(d) and 981,
21 U.S.C. § 853, and

28 U.S.C. § 2461(c)
Forfeiture Allegations

On or about September 12, 2019, in the District of Arizona, defendant YIBRAN
LOPEZ-ROSALES knowingly made false statements and representations to Shooter’s

World, a business licensed under the provisions of Chapter 44 of Title 18, United States

Code, with respect to information required to be kept in records of Shooter’s World, in that
LOPEZ-ROSALES did execute a Department of Justice Bureau of Alcohol, Tobacco,

Firearms, and Explosives Form 4473, Firearm Transaction Record, stating that he was the

actual purchaser of the firearm, when in fact the defendant purchased the firearm on behalf

of another individual; making this false statement in regard to the purchase of the following
firearm: a Barrett 82A1 .50 caliber BMG rifle, serial number AA008873.

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In violation of Title 18, United States Code, Section 924(a)(1)(A).
COUNT 2

On or about April 16, 2019, in the District of Arizona, defendant YIBRAN LOPEZ-
ROSALES knowingly made false statements and representations to Ammo AZ, a business
licensed under the provisions of Chapter 44 of Title 18, United States Code, with respect
to information required to be kept in records of Ammo AZ, in that LOPEZ-ROSALES did
execute a Department of Justice Bureau of Alcohol, Tobacco, Firearms, and Explosives
Form 4473, Firearm Transaction Record, stating that he was the actual purchaser of the
firearm, when in fact the defendant purchased the firearm on behalf of another individ ua];
making this false statement in regard to the purchase of the following firearm: an FN
M2498 5.56 caliber rifle, serial number M249SA05277.

In violation of Title 18, United States Code, Section 924(a)(1)(A).

COUNT 3

On or about August 28, 2019, in the District of Arizona, defendant YIBRAN
LOPEZ-ROSALES knowingly made false statements and representations to Ammo AZ, a
business licensed under the provisions of Chapter 44 of Title 18, United States Code, with
respect to information required to be kept in records of Ammo AZ, in that LOPEZ-
ROSALES did execute a Department of Justice Bureau of Akohol Tobacco, Firearms,
and Explosives Form 4473, Firearm Transaction Record, stating that he was the actual
purchaser of the firearm, when in fact the defendant purchased the firearm on behalf of
another individual; making this false statement in regard to the purchase of the following
firearm: a Barrett M82A1 .50 caliber BMG rifle, serial number AA008874.

In violation of Title 18, United States Code, Section 924(a)(1)(A).

FORFEITURE ALLEGATIONS

The Grand Jury realleges and incorporates the allegations of Counts 1 — 3 of this
Indictment, which are incorporated by reference as though fully set forth herein.

Pursuant to Title 18 United States Code, Sections 924(d) and 981, Title 21, United
States Code, Section 853, and Title 28, United States Code, Section 2461(c), and upon

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conviction of one or more of the offenses alleged in Counts 1 through 3 of this Indictme nt,
the defendant shall forfeit to the United States of America all right, title, and interest in (a)
any property constituting, or derived ftom, any proceeds the persons obtained, directly or
indirectly, as the result of the offense, and (b) any of the defendants’ property used, or
intended to be used, in any manner or part, to commit, or to facilitate the commission of

such offense, including, but not limited to the following involved and used in the offense:

1, Barrett 82A1 .50 caliber BMG rifle, serial number AA008873;
2. FN M249S 5.56 caliber rifle, serial number M249S8A05277; and
3. Barrett M82A1 .50 caliber BMG rifle, serial number AA008874.

If any of the above-described forfeitable property, as a result of any act or omission

of the defendant:

3 cannot be located upon the exercise of due diligence,
2) has been transferred or sold to, or deposited with, a third party,

1} has been placed beyond the jurisdiction of the court,

4) has been substantially diminished in value, or

(5) has been commingled with other property which cannot be divided without

difficulty,
it is the intent of the United States to seek forfeiture of any other property of said defendant
up to the value of the above-described forfeitable property, pursuant to 21 U.S.C. Section
853(p).

All in accordance with Title 18, United States Code, Sections 924(d) and 981, Title
21 United States Code, Section 853, Title 28, United States Code, Section 2461(c) and
Rule 32.2, Federal Rules of Criminal Procedure.

A TRUE BILL

s/
Date: November 3, 2020

JURY

MICHAEL BAILEY
United States Attorney
District of Arizona

5/
RYAN POWELL
Assistant U.S. Attorney

